Case 2:05-cr-20095-.]P|\/| Document 50 Filed 08/03/05 Page 1 of 2 Page|D 69

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IN THE UNITED STATES DISTRICT coURT
FOR THE wESTERN DISTRICT OF TENNESSEE 05 AUG "3 PH 5= l8
wEsTERN DIVISION
TH)M§SM.GOU.D

U.S. msr§§cmomr
OF??“»€,M+;L»€PH]S
UNITED STATES OF AMERICA,
Plaintiff,
v. No. 05-20095 Ml
REHIA PALONE BAR'.'L`ON,

Defendant.

-._¢-._¢~._/-_/-_/\._rv~_/~_/~_,»

 

ORDER GR]-\NTING MOTION TO CONTINUE CHANGE OF PLEA HEARING

 

Before the Court is the Defendant's Motion to Continue
August 4, 2005 Change Of Plea. The motion is hereby GRANTED and

the Change cf Plea hearing is RESET to Monda Au ust 8 2005 at

 

8:45 a.m.

SO ORDERED this § § DAY OF August, 2005.

wm OM

P. MCCALLA
ITED STATES DISTRICT JUDGE

 

This document entered nn the docket§h eq!|nj compliance
With Ruia' u:': °.amifor 32(b) )FRCrF-‘ on

 

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Honorable J on McCalla
US DISTRICT COURT

